       Case 3:16-cv-07114-JCS           Document 2       Filed 12/14/16      Page 1 of 5




 1   Gunter Mihaescu [SBN #242708]
     344 Thomas L. Berkley Way, #401
 2   Oakland, CA 94612
     Tel: 510-969-7550
 3   Fax: 510-553-1024
     Attorney for Plaintiff
 4   ROBERT BLAIR
 5
                                    UNITED STATES DISTRICT COURT
 6
                                 NORTHERN DISTRICT OF CALIFORNIA
 7
                                                       Case No.: 4:16-cv-7114
 8   ROBERT BLAIR,
 9                 Plaintiff,
                                                       COMPLAINT FOR DAMAGES UNDER THE
10      vs.                                            FEDERAL TORT CLAIMS ACT
11   UNITED STATES OF AMERICA AND
     DOES 1-100, inclusive
12
                   Defendants.
13

14
                                                   COMPLAINT
15
              Plaintiff, Robert Blair, by and through his attorney, Gunter Mihaescu, alleges the following
16
     against Defendant, United States of America, on information and belief:
17
                                                 INTRODUCTION
18
              1.     This is an action against the Defendant United States of America under the Federal
19
     Tort Claims Act, (28 U.S.C. Section 2671, et seq.) and 28 U.S.C. Section 1346(b)(1), for
20
     negligence in connection with an incident which occurred on April 7, 2013 involving a
21
     Transportation Security Administration (TSA) agent and Plaintiff Robert Blair at Miami
22
     International Airport.
23
              2.     The claims herein are brought against the Defendant pursuant to the Federal Tort
24
     Claims Act (28 U.S.C. Section 2671, et seq.) and 28 U.S.C. Section 1346(b)(1), for money
25
     damages as compensation for personal injuries caused by Defendant’s negligence.
26
              3.     Plaintiff Blair has fully complied with the provisions of 28 U.S.C. Section 2675 of
27
     the Federal Tort Claims Act. (Pleas see Standard Form 95 attached as Exhibit 1.)
28

                                                     1
                                                  Complaint
       Case 3:16-cv-07114-JCS           Document 2      Filed 12/14/16      Page 2 of 5




 1           4.      This suit has been timely filed, in that Plaintiff Blair timely served notice of his

 2   claim on United States Department of Justice less than two years after the incident forming the

 3   basis of the suit.

 4           5.      Plaintiff Blair is now filing this complaint pursuant to 28 U.S.C. Section 2401(b)

 5   after receiving the Department of Justice notice of denial of claim. (Please see US Department of

 6   Homeland Security Claim Denial Letter attached as Exhibit 2.)

 7                                  PARTIES, JURISDICTION AND VENUE

 8           6.      Plaintiff Blair is, and at all times relevant hereto was, a resident of Napa County,

 9   California.

10           7.      Defendant United States of America, through its agency, the Transportation

11   Security Administration, employed the agent who ordered Mr. Blair to pass through the metal

12   detector at Miami International Airport.

13           8.      At all times relevant to this Complaint, the TSA agent who ordered Mr. Blair to

14   pass through the metal detector at Miami International Airport held himself out to Plaintiff as an

15   employee, agent or staff of the TSA and of the United States of America.

16           9.      At all times relevant to this Complaint, the TSA agent who ordered Mr. Blair to

17   pass through the metal detector at Miami International Airport was employed by and/or acting on

18   behalf of Defendant. Furthermore, the Defendant is responsible for the negligent acts of their

19   employees and agents under the doctrine of respondeat superior.

20           10.     Jurisdiction is proper under 28 U.S.C. Section 1346(b)(1).

21           11.     Venue is proper under 28 U.S.C. Section 1402(a) as Plaintiff resides in the

22   Northern District of California.

23                                      FACTUAL ALLEGATIONS

24           12.     On or about April 7, 2013, Mr. Blair was traveling with his wife and her co-

25   workers en route from San Francisco International Airport to San Juan, Puerto Rico. The flight

26   itinerary included a layover and change of planes in Miami.

27           13.     At Miami International Airport, Plaintiff Blair had gone outside of security to

28

                                                     2
                                                  Complaint
       Case 3:16-cv-07114-JCS           Document 2      Filed 12/14/16      Page 3 of 5




 1   smoke a cigarette outside of the airport. When Mr. Blair approached the security checkpoint, he

 2   requested that he be given a manual pat-down. Mr. Blair at the time had a nuero-stimulator

 3   installed in his back which helped relieve him of chronic and ongoing back pain. At the time of the

 4   incident, before the incident, this device was functioning properly and was providing relief to Mr.

 5   Blair.

 6            14.    The TSA agent at the security checkpoint refused to provide Mr. Blair with a

 7   manual pat-down and instructed him to go through the security gate metal detector. Mr. Blair

 8   explained the situation to the TSA agent and pleaded with him that when the device had been

 9   surgically installed inside his body, he was given instructions not to pass through a metal detector

10   and to request a manual pat down instead.

11            15.    The TSA agent continued to refuse Mr. Blair’s requests for a manual pat-down.

12   Finally, the TSA agent threatened to keep Mr. Blair off the plane entirely unless he went through

13   the metal detector. Mr. Blair, not wanting to miss a vacation with his wife, which was paid by her

14   employer and attended by her co-workers and boss, and not wanting to cause a scene or worse,

15   possibly be arrested or detained, reluctantly passed through the metal detector.

16            16.    On the flight from Miami to San Juan, when Plaintiff Blair attempted to activate the

17   neuro-stimulator, it did not function properly. Mr. Blair endured the remainder of the vacation in

18   Puerto Rico in great pain.

19            17.    Upon returning to California, Mr. Blair had to undergo a surgical procedure to have

20   the device removed from his body and a new device implanted.

21            18.    Mr. Blair has endured significant mental and emotional distress and trauma as a

22   result of his injuries and medical procedures.

23                                         CAUSES OF ACTION

24                                       COUNT I-NEGLIGENCE

25            19.    Plaintiff Blair realleges and reincorporates each and every allegation above as if

26   fully set forth herein.

27            20.    The Defendant owed a duty of care to provide reasonable accommodation to Mr

28

                                                     3
                                                  Complaint
       Case 3:16-cv-07114-JCS            Document 2        Filed 12/14/16     Page 4 of 5




 1   Blair when he requested a manual pat-down.

 2           21.     The Defendant breached its duty of care to Mr. Blair.

 3           22.     At all times relevant to this Complaint, the Defendant had a duty to hire competent

 4   employees, agents, administrators, operators and staff in order to service and accommodate

 5   individuals like Mr. Blair.

 6           23.     The Defendant breached its duty by negligently hiring incompetent, inexperienced

 7   and/or unqualified operators, administrators, employees, agents and staff.

 8           24.     The Defendant had a duty to retain only competent and adequately trained

 9   operators, administrators, employees, agents and staff in order to service and accommodate

10   individuals like Mr. Blair.

11           25.     The Defendant breached its duty by negligently retaining incompetent,

12   inexperienced, unqualified and/or inadequately trained operators, administrators, employees,

13   agents and staff.

14           26.     As a direct and proximate result of Defendant’s negligence, Mr. Blair sustained

15   serious personal injuries in and about his body, he has incurred medical expenses and other

16   damages, and will continue to incur medical expenses and other damages in the future; he was

17   forced to endure pain, suffering and mental anguish, and will continue to endure pain, suffering

18   and mental anguish in the future; he has suffered a loss of the enjoyment of life, and will continue

19   to suffer a loss of the enjoyment of life in the future.

20           27.     The acts and/or omission set forth above would constitute a claim under the law of

21   the state of California.

22           28.     The Defendant is liable pursuant to 28 U.S.C. 1346(b)(1).

23                 COUNT II-VICARIOUS LIABILITY, RESPONDEAT SUPERIOR,

24                              OSTENSIBLE AGENCY AND/OR AGENCY

25           29.     Plaintiff Blair realleges and reincorporates each and every allegation above as if

26   fully set forth herein.

27           30.     At all times relevant to this case, the directors, officers, operators, administrators,

28

                                                       4
                                                    Complaint
       Case 3:16-cv-07114-JCS            Document 2        Filed 12/14/16        Page 5 of 5




 1   employees, agents, staff were employed by and/or acting on behalf of the Defendant.

 2           31.     At all relevant times to this Complaint, the directors, officers, operators,

 3   administrators, employees, agents and staff acted within their respective capacities and scopes of

 4   employment for the Defendant.

 5           32.     The directors, officers, operators, administrators, employees, agents and staff

 6   negligently and/or recklessly directly and proximately caused personal injury to Mr. Blair,

 7   including both acts of omission and acts of commission.

 8           33.     As a direct and proximate result of Defendant’s negligence, Mr. Blair sustained

 9   serious personal injuries in and about his body; he has incurred medical expenses, and other

10   damages, and will continue to incur medical expenses, and other damages in the future; he was

11   forced to endure pain, suffering and mental anguish, and will continue to endure pain, suffering

12   and mental anguish in the future; he has suffered a loss of the enjoyment of life, and will continue

13   to suffer a loss of the enjoyment of life in the future.

14           34.     The acts and/or omissions set forth above would constitute a claim under the law of

15   the State of California.

16           35.     The Defendant is liable pursuant to 28 U.S.C. 1346(b)(1).

17                                         PRAYER FOR RELIEF

18   WHEREFORE, Plaintiff Robert Blair does hereby pray that judgment be entered in his favor and

19   against the Defendant as follows:

20           1)      Medical expenses, lost wages, pain and suffering, future impairment, and loss of

21   enjoyment of life totaling $10,102,842.64; and

22           2)      Costs and attorneys fees incurred in this civil action, together with such further an

23   additional relief at law or in equity that this Court may deem proper.

24                                                              Respectfully submitted,

25

26   Dated: December 13, 2016                       By:
                                                                Gunter Mihaescu
27                                                              Attorney for plaintiff ROBERT BLAIR
28

                                                       5
                                                    Complaint
